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         UNITED STATES DISTRICT COURT                    S .YANNAH DIV .
         SOUTHERN DISTRICT OF GEORGIA
             STATESBORO DIVISIO N                    =OCT 15 X 9 3 1
UNITED STATES OF AMERIC A

V.                          606CRO26


ANDREA FRANKLIN

                  ORDE R

   Defendant Andrea Franklin's motion for a
judgment of acquittal, a new trial, and for bond
(doe . # 647) is DENIED .

     This Xday of October, 2007 .

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  AV     T    E    GE
UNITED STATE DISTRICT COURT
SOUTHERN DI TRICT OF GEORGIA
